                        1:19-cv-01133-SEM-DJQ             # 70        Filed: 02/03/20      Page 1 of 2
                                                                                                                       E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                           Monday, 03 February, 2020 02:36:32 PM
                                                                                             Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Central District
                                             __________          of__________
                                                        District of Illinois

                         Anthony Gay                             )
                             Plaintiff                           )
                                v.                               )     Case No.    19-cv-01133
                     John Baldwin, et al.                        )
                            Defendant                            )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, Anthony Gay                                                                                         .


Date:          02/03/2020                                                                 /s/ Arthur Loevy
                                                                                         Attorney’s signature


                                                                                      Arthur Loevy #1682474
                                                                                     Printed name and bar number
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           1:19-cv-01133-SEM-DJQ           # 70       Filed: 02/03/20     Page 2 of 2

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



                Anthony Gay                       )
                   Plaintiff                      )
                      v.                          )    Case No. 19-cv-01133
             John Baldwin, et al.                 )
                  Defendant                       )


                                    CERTIFICATE OF SERVICE

I certify that on _______________,
                   02/03/2020      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

_____________________________________________________________________________,
 All Counsel of Record

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                              /s/ Arthur Loevy
                                                             Attorney’s signature

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